           Case 3:20-cv-01331-RJD Document 1-1 Filed 12/11/20 Page 1 of 25 Page ID #6




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                                                                                                     Transmittal Number: 22402342
Notice of Service of Process                                                                            Date Processed: 12/09/2020

Primary Contact:           Cynthia Bertucci
                           Dollar Tree, Inc.
                           500 Volvo Pkwy
                           Chesapeake, VA 23320-1604

Electronic copy provided to:                   Heather Hunter
                                               JJ Jacobson-Allen

Entity:                                       Dollar Tree, Inc.
                                              Entity ID Number 3701462
Entity Served:                                Dollar Tree, Inc
Title of Action:                              Erica Steele vs. Dollar Tree Stores, Inc
Matter Name/ID:                               Erica Steele vs. Dollar Tree Stores, Inc (10724548)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 St. Clair County Circuit Court, IL
Case/Reference No:                            20L0957
Jurisdiction Served:                          Virginia
Date Served on CSC:                           12/09/2020
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Joseph Weidhaas
                                              314-231-4100

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

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                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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         ERICA STELE                                                                  DOLLAR TREE STORES, INC.,
                                                                                      ET AL.
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                           Joseph M. Weidhaas
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   provider. Visit https://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service provider.
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Case 3:20-cv-01331-RJD Document 1-1 Filed 12/11/20 Page 4 of 25 Page ID #9
                                                                                Kahalah A. Clay
                                                                                   Circuit Clerk
                                                                                   Elysia Agne
                                                                                        20L0957
                                                                                 5t. Clair County
                    IN THE CIRCUIT COURT OF SAINT CLAIR COUNTY                12/3/2020 3:43 PM
                                  STATE OF ILLINOIS                                   11351228


ERICA STEELE

       Plaintiff,                             Case No.20L0957

V.                                            Division No.

DOLLAR TREE STORES, INC
Serve at•.                                    ~1~3~1_Y_~_/:l~~~u/:\►1~~7
Registered Agent:
Illinois Corporation Service C
801 Adlai Stevenson Drive
Springfield, Illinois 62703

DOLLAR TREE, INC.
Serve at•
Corporation Service Company
100 Shockoe Slip F12
Richmond, Virginia 23219

SHILOH PLACE SHOPPING CENTER,
LLC
Serve at•
C T Corporation System
208 So. LaSalle Street
Suite 814
Chicago; Illinois 60604

SAFEWAY GROUP, INC.
Serve at•
Rafat U.Shaikh
6961 Peachtree Industrial Blvd.
Suite 101
Norcross, Georgia 30092

S M ROOFING, LLC
Serve at•
Saul Miranda Martinez
3134 Convair Lane
Decatur, Georgia 30032

and,

SAUL MIRANDA MARTINEZ


                                        1
Case 3:20-cv-01331-RJD Document 1-1 Filed 12/11/20 Page 5 of 25 Page ID #10




 Serve at-
 Saul Ivliranda Martinez
 3134 Convair Lane
 Decatur, Georgia 30032

         Defendants.

                                            COMPLAINT

       COMES NOW Plaintiff, Erica Steele, by and through the undersigned counsel, and for

her causes of action against Defendants Dollar Tree Stores, Inc., Dollar Tree, Inc., Shiloh Place

Shopping Center, LLC, Safeway Group, Inc., S M Roofing, LLC, and Saul Miranda Martinez:

                        ALLEGATIONS COMMON TO ALL COUNTS

        1.      At all times herein mentioned, Plaintiff, Erica Steele, was a lawful resident of St.

Clair County, State of Illinois.

        2.      Defendant Dollar Tree Stores, Inc. ("Dollar Tree Stores") is a foreign corporation,

doing business in the State of Illinois, registered in the State of Illinois for the purpose of operating

a store located at 1210 Camp Jackson Rd., Cahokia, Saint Clair County, State of Illinois, 62206

(hereinafter the "Premises"). Defendant Dollar Tree Stores conducts systematic and routine

business in the State of Illinois, and is subject to the long arm statutes of Illinois.

        3.      Defendant Dollar Tree, Inc. ("Dollar Tree") is a foreign corporation, doing business

in the State of Illinois, registered in the State of Illinois for the purpose of operating a store located

at 1210 Camp Jackson Rd., Cahokia, Saint Clair County, State of Illinois, 62206. Defendant Dollar

Tree conducts systematic and routine business in the State of Illinois, and is subject to the long

arm statutes of Illinois.

        4.      Defendant Shiloh Place Shopping Center, LLC ("Shiloh Place") is a foreign

corporation, doing business in the State of illinois, registered in the State of Illinois for the purpose

of operating a commercial real estate business, and owned and leased the premises located at 1210


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Camp Jackson Rd., Cahokia, Saint Clair County, State of Illinois, 62206. Defendant Shiloh Place

conducts systematic and routine business in the State of Illinois, and is subj ect to the long arm

statutes of Illinois.

         5.     Defendant Safeway Group, Inc. ("Safeway") is a foreign corporation, doing

business in the State of Illinois for the purpose of operating a commercial real estate business, and

owned and leased the premises located at 1210 Camp Jackson Rd., Cahokia, Saint Clair County,

State of Illinois, 62206. Defendant Safeway conducts systematic and routine business in the State

of Illinois, and is subject to the long arm statutes of Illinois.

         6.     Defendant S M Roofing, LLC ("S M Roofing") is or was a foreign corporation

doing business in the State of Illinois for the purpose of operating a roofing business, and perfomed

roofing and structural work on the premises located at 1210 Camp Jackson Rd., Cahokia, Saint

Clair County, State of Illinois, 62206. Defendant S M Roofing conducts systematic and routine

business in the State of Illinois, and is subject to the long arm statutes of Illinois.

         7.     Defendant Saul Miranda Martinez ("Martinez") is an individual and owner and/or

operator of S M Roofing or individual doing business as S M Roofing and performed or directed

roofing and structural work on the premises located at 1210 Camp Jackson Rd., Cahokia, Saint

Clair County, State of Illinois, 62206.

         8.     At all relevant times Defendants Safeway Group and Shiloh Place were entities that

acted as agents of each other and conducted a joint venture in the owning, managing, and leasing

of the premises located at 1210 Camp Jackson Rd., Cahokia, Saint Clair County, State of Illinois,

62206.

         9.     At all relevant times Defendant Martinez and/or S M Roofing, was or were the

agent(s), servant(s) and/or employee(s) of Defendants Dollar Tree, and/or pollar Tree Stores,



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and/or Safeway, and/or Shiloh Place, and Defendants Martinez and/or S M Roofing were acting

within the course and scope of such agency, servitude and/or employment. Defendants Dollar Tree,

and/or pollar Tree Stores, and/or Safeway, and/or Shiloh Place are therefore vicariously liable for

the negligent acts and/or omissions of Defendants Martinez and/or S M Roofing under the doctrine

of respondeat superior.

       10. -   Safeway Group and Shiloh Place were entities that acted as agents of each other

and conducted a joint venture in the owning, managing, and/or leasing of the premises located at

1210 Camp Jackson Rd., Cahokia, Saint Clair County, State of Illinois, 62206.

       11.     Defendant Safeway Group's agents, servants, and/or employees owed a duty to

inspect the Premises on a regular basis, note any dangerous conditions thereof, and remedy,

barricade or warn invitees about such conditions so that they would not be unnecessarily injuxed. ~

       12:     Defendant Shiloh Place's agents, servants, and/or employees owed a duty to inspect

the Premises on a regular basis, note any dangerous conditions thereof, and remedy, barricade or

warn invitees about such conditions so that they would not be unnecessarily injured.

       13.     Defendant Dollar Tree Store's agents, servants, and/or employees owed a duty to        '- /~

inspect the Premises on a regular basis, noie any dangerous conditions thereof, and remedy,

barricade or warn invitees about such conditions so that they would not be unnecessarily injured.

       14.     Defendant Dollar Tree's agents, servants, and/or employees owed a duty to inspect,

the Premises on a regular basis, note any dangerous coiiditions thereof, and remedy, barricade or

warn invitees about such conditions so that they would not be unriecessarily injured.

        15.    Defendant S M Roofing's agents, servants, and/or employees owed a duty to

inspect the roofing and structural work it did on the Premises to ensure the work was completed

and the work did not create any dangerous conditions and inspect the work, note any dangerous



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conditions arising out of the work, and remedy, barricade or warn invites about such conditions so

that they would not be unnecessarily injured.

        16.    Defendant Martinez, and his, agents, servants, and/or employees owed a duty to

inspect the roofing and structural work done on the Premises to ensure the work was completed

and the work did not create any dangerous conditions and inspect the work, note any dangerous

conditions arising out of the work, and remedy, barricade or warn invitees about "such conditions

so that they would not be unnecessarily injured:

        17.    On or about December 31, 2018, Plaintiff Erica Steele (hereinafter, "Plaintiff")

slipped and fell on a liquid located in the store owned, operated or otherwise under the control of

the Defendant Dollar Tree. Located at 1210 Camp Jackson Rd., Cahokia, Saint Clair County, State

of Illinois.

        18.     At the above-mentioned time and place, the liquid on the floor of the premises made

the floor not reasonably safe.

                                           COUNTI
                                   PREMISES LIABILITY
                                 (Against Defendant Dollar Tree)

        19.     Plaintiff restates and incorporates by reference paragraphs 1 through 18 as if fully

set forth herein.

        20.    Plaintiff was a customer at Defendant Dollar Tree's store at the time of the incident.

        21.     Defendant Dollar Tree had possession and control over that premises on the date

and time of this incident occurring.

        22.     At all times pertinent hereto, Defendant was under a duty to act with a requisite

degree of care regarding the upkeep and maintenance of its premises on behalf of all guests and

customers on their premises.



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       23.     Defendant Dollar Tree.knew or by the use of ordinary care could have known about

the aforementioned dangerous condition yet failed to remedy it and was therefore negligent in

maintaining the conditions of the premises in that:

               a)      Defendant Dollar Tree failed to remove the dangerous condition_ when

                       Defendant Dollar. Tree knew or by exercising the requisite degree of care

                       should have known the puddle was an unsafe condition;

               b)      Defendant Dollar Tree failed and/or omitted to barricade or provide notice

                       which would prevent persons from coming into contact with the liquid;

               c)      Defendant Dollar Tree failed to warn Plaintiff of the dangerous condition.

               d)      Defendant Dollar Tree failed to safely inspect the roofing and structural

                       work done on the Premises to ensure the work was completed in a safe

                       rnanner;.

               e)      Defendant Dollar Tree failed to safely inspect the. roof ng and structural

                       work done on the Premises to ensure the work was completed in a safe

                       manner; and

               f)      Defendant Dollar Tree failed ,to adequately vet S M Roofing and Martinez

                       to ensure the roofing company and Martinez were qualified to perform work

                       on the Premises.

       24:     Defendant Dollar` Tree's negligence, carelessness, faults and omissions, as

aforesaid, directly and proximately caused or contributed to cause Plairitiff to sustain bodily injury,

pain and suffering to her shoulder and neck. Due to her injuries, Plaintiff required care and

treatment from hospitals, physicians, and other health care professionals, all at substantial expense.

Plaintiff was caused and continues to have pain, suffering, inconvenience, impaired mobility,



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impaired activities of daily living, and the ordinary emotional distress that goes with a fall and her

resulting injuries, loss of quality of life and inconvenience.

        WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Dollar Tree

for damages that are fair and reasonable, in an amount that exceeds $50,000.00, for costs incurred

herein, and for all other such damages that the Court deems just and proper under the

circumstances.

                                             COUNTII
                                      PREMISES LIABILITY
                                (Against Defendant Dollar Tree Stores)

        25.      Plaintiff restates and incorporates by reference paragraphs 1 through 24 as if fully

set forth herein.

        26.      Plaintiff was a customer at Defendant Dollar Tree Stores' store (the Premises) at

the time of Plaintiffls fall.

        27.      Defendant Dollar Tree Stores had possession and control over that premises on the

date and time of this incident occurring.

        28.      At all times pertinent hereto, Defendant Dollar Tree Stores was under a duty to act

with a requisite degree of care regarding the upkeep and maintenance of its premises on behalf of

a11 guests and customers on their premises.

        29.      Defendant Dollar Tree Stores knew or by the use of ordinary care could have known

about the aforementioned dangerous condition yet failed to remedy it and was therefore negligent

in maintaining the conditions of the premises in that:                          ,

    a) Defendant Dollar Tree Stores failed to remove the dangerous condition when Defendant

        Dollar Tree Stores knew or by exercising the requisite degree of care should have known

        the puddle was an unsafe condition;



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                 b)     Defendant Dollar Tree Stores failed and/or omitted to barricade or provide

                        notice which would prevent persons from coming into contact with the

                        liquid;

                 c)     Defendant Dollar Tree Stores failed to warn Plaintiff of the dangerous

                        condition;

                 d)     Defendant Dollar Tree Stores failed to safely inspect the roofing and

                        structural work done on the Premises to ensure the work was completed in

                        a safe manner and;

                 e)     Defendant Dollar Tree Stores failed to adequately vet S M Roofing and

                        Martinez to ensure the roofing company and Martinez were qualified to

                        perform work on the Premises.

       30_       Defendant Dollar Tree Stores' negligence, carelessness, faults and onussions, as

aforesaid, directly and proximately caused or contributed to cause Plaintiff to sustain bodily injury,

pain and suffering to her shoulder and neck. Due to her injuries, Plaintiff required care and

treatment from hospitals, physicians, and other health care professionals, all at substantial expense.

Plaintiff was caused and continues to have pain, suffering, inconvenience, impaired mobility,

impaired activities of daily living, and the ordinary emotional distress that goes with a fall and her

resulting injuries, loss of quality of life and inconvenience.

       WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Dollar Tree

Stores for damages that are fair and reasonable, in an amount that exceeds $50,000.00, for costs

incurred herein, and for all other such damages that the Court deems just and proper under the

circumstances.
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                                            COUNTIII
                                      PREMISES LIABILITY
                                      (As against Shiloh Place)

       31.      Plaintiff restates and incorporates by reference paragraphs 1 through 30 as if fully

set forth herein:

        32.     Plaintiff was a customer at Defendant Dollar Tree and/or Defendant Dollar Tree

Stores' store (the Premises) at the time of Plaintiff's fall.

        33.     Defendant Shiloh Place had control over the Premises on the date and time of this

incident occurring.

        34.     At all times pertinent hereto, Defendant Shiloh Place was under a duty to act with

a requisite degree of care regarding the upkeep and maintenance of the Premises on behalf of all

guests and customers on the Premises.

        35.     Defendant Shiloh Place knew or by the use of ordinary care could have known

about the aforementioned dangerous condition yet failed to remedy it and was therefore negligent

in maintaining the conditions of the premises in that:

                a)      Defendant Shiloh Place failed to remove the dangerous condition when

                        Defendant Shiloh Place knew or by exercising the requisite degree of care

                        should have known the puddle was an unsafe condition;

                b)      Defendant Shiloh Place failed and/or omitted to barricade or provide notice

                        which would prevent persons from coming into contact with the liquid;

                c)      Defendant Shiloh Place failed to warn Plaintiff of the dangerous condition;

                d)      Deferidant Shiloh Place failed to safely inspect the roofing and structural

                        work done on the Premises to ensure the work was completed in a safe

                        manner and;



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                 e)     Defendant Shiloh Place failed to adequately vet S M Roofirig and Martinez

                        to ensure the roofing company and Martinez were qualified to perform work

                        on the Premises.

        36.      Defendant Shiloh Place's negligence, carelessness, faults and omissions, as

aforesaid, directly and proximately caused or contributed to cause Plaintiff to sustain bodily injury,

pain and suffering to her shoulder and neck. Due to her injuries, Plaintiff required care and

treatment from hospitals, physicians, and other health care professionals, all at substantial expense.

Plaintiff was caused and continues to have pain, suffering, inconvenience, impaired mobility,

impaired activities of daily living, and the ordinary emotional distress that goes with a fall and her

resulting injuries, loss of quality of life and inconvenierice.

        WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Shiloh Place

for damages that are fair and reasonable, for costs incurred herein, in an amount that exceeds

$50,000.00, and for all other such damages that the Court deems just and proper under the

circumstances.

                                            COUNTIV
                                     PREMISES LIABILITY
                                   (As against Defendant Safeway)

        37.      Plaintiff restates and incorporates by reference paragraphs 1 through 36 as if fully

set forth herein.

        38.      Plaintiff was a customer at Defendant Dollar Tree and/or Defendant Dollar Tree

Stores' store (the Premises) at the time of Plaintiff's fall.

        39.      Defendant Safeway had control over the. Premises on the date and time of this

incident occurring.




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       40.     At all times pertinent hereto, Defendant Safeway was under a duty to act with a

requisite degree of care regarding the upkeep and maintenance of the Premises on behalf of all

guests and customers on the Premises.

       41.     Defendant Safeway knew or by the use of ordinary care could have known about

the aforementioned dangerous condition yet failed to remedy it and was therefore negligent in

maintaining the conditions of the premises in that:

               a)      Defendant Safeway failed to remove the dangerous condition when

                       Defendant Safeway knew or by exercising the requisite degree of care

                       should have known the puddle was an unsafe condition;

               b)      Defendant Safeway failed and/or omitted to barricade or provide notice

                       which would prevent persons from coming into contact with the liquid;

               c)      Defendant Safeway failed to warn Plaintiff of the da.ngerous condition;

               d)      Defendant Safeway failed to safely inspect the roofing and structural work

                       done on the Premises to ensure the work was completed in a safe manner

                       and;

               e)      Defendant Safeway failed to adequately vet S M Roofing and Martinez to

                       ensure the roofing company and Martinez were qualified to perform work

                       on the Premises.

       42.     Defendant Safeway's negligence, carelessness, faults and omissions, as aforesaid,

directly and proximately caused or contributed to cause Plaintiff to sustain bodily injury, pain and

suffering to her shoulder and neck. Due to her injuries, Plaintiff required care and treatment from

hospitals, physicians, and other health care professionals, all at substantial expense. Plaintiff was

caused and continues to have pain, suffering, inconvenience, impaired mobility, impaired activities



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of daily living, and the ordinary emotional distress that goes with a fall and her resulting injuries,

loss of quality of life and inconvenience.

       WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Safeway for

damages that are fair and reasonable, in an amount that exceeds $50,000.00, for costs incurred

herein, and for all other such damages that the Court deems just and proper under the

circumstances.

                                             COUNT V
                                          NEGLIGENCE
                                       (Defendant Dollar Tree)

       43.        Plaintiff incorporates by reference the allegations of paragraphs 1 through 42

above, as though fully set forth herein.

       44.        At all times pertinent hereto, Defendant Dollar Tree was under a duty to act with a

fequisite degree of care 'regarding the upkeep and maintenance of its premises on behalf of all

guests and customers on their premises.

        45.       The injuries and damages suffered by Plaintiff, as set forth above, were the direct

and proximate result of the negligent acts and/or omissions of Defendant Dollar Tree, its agents

and employees, and each of them, in one, more or all of the following particulars, to wit:

                  a)     choosing not to use reasonable or ordinary care to remedy, barricade, guard

                         against, mark or warn about the dangerous condition, when Defendant knew

                         or in exercise of reasonable or ordinary care could have known about the

              I          dangerous conditions;

                  b)     choosing not to carefully inspect the floor and roof for dangerous conditions,

                         such as the one presented by a pool of liquid unreasonably causing a

                         slipping hazard;



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                 c)     choosing to allow there to be a pool of liquid on the floor where customers

                        normally walk, causing Plaintiff to slip, fall, and suffer injuries;

                 f)     choosing to not adequately inspect the roofing and structural work done on

                        the Premises to ensure the work was completed in a safe manner and;

                 g)     choosing not to adequately vet S M Roofing and Martinez to ensure the

                        roofing company and Martinez were qualified to perform work on the

                        Premises.

       46.       Defendant Dollar Tree knew or should have known through the use of reasonable

or ordinary care that Plaintiff or others like Plaintiff would walk in the area of the dangerous

condition, but Defendant still failed to warn, remove, barricade or otherwise remedy the condition.   '

       47.       As a direct and proximate result of the negligent acts and omissions of Defendant

Dollar Tree, its employees and agents, as aforesaid, and the dangerous conditions of the property,

Plaintiff suffered the injuries and damages set out above.

       WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Dollar Tree

for damages that are fair and reasonable, for costs incurred herein, in an amount that exceeds

$50,000.00, and for all other such damages that the Court deems just and proper under the

circumstances.

                                           COUNT VI
                                         NEGLIGENCE
                             (As against Defendant Dollar Tree Stores)

       48.       Plaintiff incorporates by reference the allegations of paragraphs 1 through 47

above, as though fully set forth herein.




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       49.     At all tirnes pertinent hereto, Defendant Dollar Tree Stores was under a duty to act

with a requisite degree of care regarding the upkeep and maintenance of its premises on behalf of

all guests and customers on their premises.

       50.     The injuries and damages suffered by Plaintiff, as set forth above, were the direct

and proximate result of the negligent acts and/or omissions of Defendant Dollar Tree Stores, its

agents and employees, and each of them, in one, more or all of the following particulars, to wit:

              a)      choosing not to use reasonable or ordinary care to remedy, barricade, guard

                     against, mark or warn about the dangerous condition, when Defendant knew

                     or in exercise of reasonable or ordinary 'care could have known about the

                     dangerous conditions;

               b)     choosing not to carefully inspect the floor and roof for dangerous conditions,

                      such as the one presented by a pool of liquid unreasonably causing a

                      slipping hazard;

               c)      choosing to allow there to be a pool of liquid on the floor where customers

                      normally walk, causing Plaintiff to slip, fall, and suffer injuries;

               d)     choosing to not adequately inspect the roofing and structural work done on

                      the Premises to ensure the work was completed in a safe manner and;

               e)      choosing not to adequately vet S M Roofmg and Martinez to ensure the

                      roofing company and Martinez were qualified to perform work on the

                      Premises.

       51.     Defendant Dollar Tree Stores knew or should have known through the use of

reasonable or ordinary care that Plaintiff or others like Plaintiff would walk in the area of the




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dangerous condition, but Defendant still failed to warn, remove, barricade or otherwise remedy

the condition.

       52.       As a direct and proximate result of the negligent acts and omissions of Defendant

Dollar Tree Stores, its employees and agents, as aforesaid, and the dangerous conditions of •the

property, Plaintiff suffered the injuries and damages set out above.

       WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Dollar Tree

Stores for damages that are fair and reasonable, for costs incurred herein, in an amount that exceeds

$50,000.00, and for all other such damages that the Court deems just and proper under the

circumstances.

                                           COUNT VII
                                         NEGLIGENCE
                                (As against Defendant Shiloh Place)

       53.       Plaintiff incorporates by reference the allegations of paragraphs 1 through 52

above, as though fully set forth herein.

       54.       At all times pertinent hereto, Defendant Shiloh Place was under a duty to act with

a requisite degree of care regarding the upkeep and maintenance of its premises on behalf of all

guests and customers on their premises.

       55.       The injuries and damages suffered by Plaintiff, as set forth above, were the direct

and proximate result of the negligent acts and/or omissions of Defendant Shiloh Place, its agents

and employees, and each of them, in one, more or all of the following particulars', to wit:

                 a)     choosing not to use reasonable or ordinaiy care to remedy, barricade, guard

                        against, mark or warn about the dangerous condition, when Defendant knew

                        or in exercise of reasonable or ordinary care could have known about the

                        dangerous conditions;



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               b)      choosing not to carefully inspect the floor and roof for dangerous conditions,

                       such as the one presented by a pool of liquid unreasonably causing a

                       slipping hazard;

               c)      choosing to allow there to be a pool of liquid on the floor where customers

                       normally walk, causing Plaintiff to slip, fall, and suffer injuries;

                       choosing .to not adequately inspect the roofing and structural
               d)                                                                 . work done on
                       the Premises to ensure the work was completed in a safe manner and;

               e)      choosing not to adequately vet S M Roofing and Martinez to ensure the

                       roofing company and Martinez were qualified to perform work on the

                       Premises.

       56.     Deferidant Shiloh Place knew or should have known through the use of reasonable

or ordinary care that Plaintiff or others like Plaintiff would walk in the area. of the dangerous

condition, but Defendant still failed to warn, remove, barricade or otherwise remedy the condition.

       57.     As a direct and proximate result of the negligent acts and omissions of Defendant

Shiloh Place, its employees and agents, as aforesaid, and the dangerous conditions of the property,

Plaintiff suffered the injuries and damages set out above.

       WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Shiloh Place

for damages that are fair and reasonable, in an amount that exceeds $50,000.00, for costs incurred

herein, and for all other such damages that the Court deems just and proper under the circumstances.

                                           COUNT VIII
                                          NEGLIGENCE
                                   (As against Defendant Safeway)

       58.     Plaintiff incorporates by reference the allegations of paragraphs 1 through 57

above, as though fully set forth herein.



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       59.     At all times pertinent hereto, Defendant Safeway was under a duty to act with a

requisite degree of care regarding the uplceep and maintenance of its premises on behalf of all

guests and customers on their premises.

       60.     The injuries and damages suffered by Plaintiff, as set forth above, were the direct

and proximate result of the negligent acts and/or omissions of Defendant Safeway, its agents and

employees, and each of them, in one, more or all of the following particulars, to wit:

              a)      choosing not to use reasonable or ordinary care to remedy, barricade, guard

                      against, mark or warn about the dangerous condition, when Defendant knew

                      or in exercise of reasonable or ordinary care could have known about the

                      dangerous conditions;

               b)     choosing not to carefully inspect the floor and roof for dangerous conditions,

                      such as the one presented by a pool of ` liquid unreasonably causing a

                      slipping hazard;

               c)     choosing to allow there to be a pool of liquid on the floor where customers

                      normally walk, causing Plaintiff to slip, fall, and suffer injuries;

               d)     choosing to not adequately inspect the roofing and structaral work done on

                      the Premises to ensure the work was completed in a safe manner and;

               e)     choosing not to adequately vet S M Roofing and Martinez to ensure the

                      roofing company and Martinez were qualified to perform work on the

                      Premises.

       61.     Defendant Safeway knew or should have known through the use of reasonable or

ordinary care that Plaintiff or others like Plaintiff would walk in the area of the dangerous

condition, but Defendant still failed to warn, remove, barricade or otherwise remedy the condition.



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       62.     As a direct and proximate result of the negligent acts and omissions of Defendant

Safeway, its employees and agents, as aforesaid, and the dangerous conditions of the properry,

Plaintiff suffered the injuries and damages set out above.

       WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Safeway for

damages that are fair and reasonable, in an amount that exceeds $50,000.00, for costs incurred

herein, a.nd for all other such damages that the Court deems just and proper under the circumstances.

                                           COUNT IX
                                        NEGLIGENCE
                               (As against Defendant S M Roofing)

       63.     Plaintiff incorporates by reference the allegations- of paragraphs 1 through 62

above, as though fu11y set forth herein.

       64.     At all.times pertinent hereto, Defendant S M Roofing was under a duty to act with

a requisite degree of care in- the roofing and structural work being done by S M Roofing and/or

Martinez on the Premises.

       65.     The injuries and damages suffered by Plaiiitiff, as set forth above; were the direct

and proximate result of the negligent acts and/or omissions of Defendant S M Roofing, its agents

and employees, and each of them, in one, more. or all of the following particulars, to wit:

               a)       choosing not to use reasonable or ordinary care to remedy, barricade, guard

                        against, mark or warn about the dangerous condition, when Defendant

                        knew or in exercise of reasonable or ordinary care could have known about

                        the dangerous conditions;

               b)      choosing not to carefully inspect the.floor and roof for dangerous conditions,

                       such as the one presented by a pool of liquid unreasonably causing a

                       slipping hazard;



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               c)      choosing to allow there to be a pool of liquid on the floor where customers

                      normally walk, causing Plaintiff to slip, fall, and suffer injuries;

               d)      choosing to not adequately inspect the roofing and structural work done on

                       the Premises to ensure the work was completed in a safe manner;

               e)     performing roofing and structural work that was defective, in that the work

                      allowed water or liquid to come through the roof and ceiling onto the floor

                       of the Premises;

               f)      failing to repair the roofing and structural work that was defective in a

                       tirnely manner and;

               g)     failing to notify anyone or any entity the roofing and structural work was

                       defective and allowing water to come through the roof and ceiling of the

                      Premises.

       66.     Defendant S M Roofing knew or should have known through the use of reasonable

or ordinary care that Plaintiff or others like Plaintiff would walk in the area of the dangerous

condition, but Defendant still failed to warn, remove, barricade or otherwise remedy the condition

and remedy the defective work.

       67.     As a direct and proximate result of the negligent acts and omissions of Defendant

S M Roofing, its employees and agents, as aforesaid, and the dangerous conditions of the property,

Plaintiff suffered the injuries and damages set out above.

       WHEREFORE, Plaintiffrespectfully prays for judgment against Defendant S M Roofing

for damages that are fair and reasonable, in an amount that exceeds $50,000.00, for costs incurred

herein, and for all other such damages that the Court deems just and proper under the circumstances.




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                                           COUNT X
                                        NEGLIGENCE
                                 (As against Defendant Martinez)

       68.     Plaintiff incorporates by reference the allegations of paragraphs 1 through 67

above, as though fully set forth herein.

       69.     At all times pertinent hereto, Defendant Martinez was under a duty to act with a

requisite degree of care in the roofing and structural work being done by S M Roofing and/or

Mastinez on the Premises.

       70.     The injuries and damages suffered by Plaintiff, ,as set forth above, were the direct

and proximate result of the negligent acts and/or omissions of Defendant Martinez, its agents and

employees, and each of them, in one; more or a11 of the following particulars, to wit:

              a)       choosing not to use reasonable or ordinary ,care to remedy, barricade; guard

                       against, mark or warn about the dangerous condition, when Defendant knew

                       or in exercise of reasonable or ordinary care could have known about the

                       dangerous conditions;

               b)      choosing not to carefully inspect the floor and roof for dangerous conditions,

                       such as the one presented by a pool of liquid unreasonably causing a

                       slipping hazard;

               c)      choosing to allow there to be a pool of liquid on the floor where customers

                       normally walk, causing Plaintiff to slip, fall, and suffer injuries;

               d)      choosing to not adequately inspect the roofing and structural work done on

                       the Premises to ensure the work was completed in a safe manner;




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               e)      performing roofing and structural work that was defective; in that the work

                       allowed water or liquid to come through the roof and ceiling onto the floor

                       of the Premises;

               f)      failing to repair the roofing and structural work that was defective in a

                       tirnely manner and;

               g)      failing to notify anyone or any entity the roofing and structural work was

                       defective and allowing water to come through the roof and ceiling of the
                                                                      ~
                       Premises.                                      ~..

       71.     Defendant Martinez knew or should have known through,the use of reasonable or

ordinary care that Plaintiff or others like Plaintiff would walk in zhe area of the dangerous
                                                                            ~
condition, but Defendant still failed to warn, remove, barricade or otherwise remedy the condition

and remedy the defective work.

       72      As a direct and proximate result of the negligent acts and omissions of Defendant

Martinez, his employees and agents, as aforesaid, and the dangerous conditions of the property,

Plaintiff suffered the injuries and damages set out above.

       WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Martinez for

damages that are fair and reasonable, in an amount that exceeds $50,000.00, for costs incurred

herein, and for all other such damages that the Court deems just and proper under the circumstances.




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                                          Respectfully Submitted,

                                          GOLDBLATT + SINGER

                                           /s/ Joseph M. Weidhaas
                                          Joseph Weidhaas #6302116
                                          8182 Maryland Ave., Ste. 801
                                          Clayton, MO 63105
                                          (314) 231-4100 Telephone
                                          (314) 241-5078 Facsimile
                                          jweidhaas@stlinjurylaw.com
                                          Attorneys for Plaintiff




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